            Case 1:22-mj-00180-AJ Document 1-1 Filed 08/10/22 Page 1 of 13




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE

IN THE MATTER OF THE SEARCH OF            )
THE DROPBOX ACCOUNT ASSOCIATED            )
WITH THE EMAIL ADDRESS                    )                   No. 1:22-MJ-180-01-AJ
SINGLEMALTGRUX@GMAIL.COM                  )                   Filed Under Seal
__________________________________________)

                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, Adam Rayho, a Task Force Officer with the United States Department of Homeland

Security, Immigration and Customs Enforcement (“ICE”), Homeland Security Investigations

(“HSI”), being duly sworn, depose and state as follows:

                                        INTRODUCTION

       1.       This affidavit is made in support of an application for the search warrant under 18

U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A) to require Dropbox Inc., to disclose to the

government records and other information in its possession (including the content of

communications) pertaining to the subscriber or users associated with the email address

“singlemaltgrux@gmail.com” (hereinafter referred to as the “SUBJECT ACCOUNT”), which

are stored at the premises owned, maintained, controlled, or operated by Dropbox Inc. The

information to be searched is described in the following paragraphs and in Attachment A. Upon

receipt of the information described in Section I of Attachment B, government-authorized

persons will review that information to locate the items described in Section II of Attachment B.

       2.       This affidavit is based in part on information that I learned from discussions with

other law enforcement officers and on my own investigation of this matter. Since this affidavit is

being submitted for the limited purpose of securing a search warrant, I have not included each

and every fact known to me concerning this investigation. I have set forth only the facts that I

believe are necessary to establish probable cause to believe that evidence, fruits, and
            Case 1:22-mj-00180-AJ Document 1-1 Filed 08/10/22 Page 2 of 13




instrumentalities of the violation of 18 U.S.C. §§ 2252A(a)(1), 2252A(a)(2), and

2252A(a)(5)(B), are presently located in the SUBJECT ACCOUNT.

                                    AGENT BACKGROUND

       3.       I am a detective with the Nashua, New Hampshire Police Department, and a

deputized task force officer (TFO) for HSI. I became a certified police officer in the State of

New Hampshire in May 2014 after graduating from the 164th New Hampshire Police Standards

and Training Academy. I have also completed HSI’s Task Force Officer Course. I hold a

bachelor’s degree in criminal justice, with a minor in computer science and victimology, from

Endicott College.

       4.       Since November 2019, I have been assigned to the Special Investigations Division

as a member to the New Hampshire Internet Crimes Against Children (ICAC) Task Force, which

includes numerous federal, state, and local law enforcement agencies conducting proactive and

reactive investigations involving online child exploitation. As a TFO, I am authorized to

investigate violations of federal laws and to execute warrants issued under the authority of the

United States. Specifically, as a TFO and a member of the ICAC, I investigate criminal

violations related to online sexual exploitation of children. I have received training in the areas of

child sexual exploitation including, but not limited to, possession, distribution, receipt, and

production of child pornography, and interstate travel with intent to engage in criminal sexual

activity, by attending training hosted by the ICAC involving online undercover chat

investigations and interview/interrogation. I have also participated in numerous online trainings

hosted by the Federal Bureau of Investigation Child Exploitation and Human Trafficking Task

Force Online Covert Employee Development Series. These trainings focused on live stream

investigations and using undercover personas on various social media applications for proactive



                                                  2
            Case 1:22-mj-00180-AJ Document 1-1 Filed 08/10/22 Page 3 of 13




investigations. I have personally conducted numerous online undercover investigations using

social media applications such as KIK messenger, Grindr, WhatsApp, Whisper, and MeetMe. In

addition, I have completed the Cellebrite Certified Operator and Cellebrite Certified Physical

Analyst course in mobile forensics. In the course of investigating crimes related to the sexual

exploitation of children, I have observed and reviewed numerous examples of child pornography

(as defined in 18 U.S.C. § 2256) in all forms of media, including computer media. I have been

involved in numerous online child sexual exploitation investigations and am very familiar with

the tactics used by child pornography offenders who collect child pornographic material and

those who seek to exploit children.

       5.       In addition, over the course of this investigation, I have conferred with other

investigators who have conducted numerous investigations and executed numerous search and

arrest warrants which involved child exploitation and/or child pornography offenses.

                                      STATUTORY AUTHORITY

       6.       This application is part of an investigation into Scott Currier for the alleged

knowing transportation, receipt, and possession of child pornography. 18 U.S.C. § 2252A(a)(1)

prohibits a person from knowingly transporting child pornography using any means or facility of

interstate or foreign commerce. 18 U.S.C. § 2252A(a)(2) prohibits a person from knowingly

receiving and distributing any child pornography using any means or facility of interstate or

foreign commerce or that has been mailed, or has been shipped or transported in or affecting

interstate or foreign commerce by any means, including by computer. 18 U.S.C. §

2252A(a)(5)(B) prohibits a person from knowingly possessing any child pornography that has

been mailed, or shipped or transported using any means or facility of interstate or foreign

commerce by any means, including by computer, or that was produced using materials that have



                                                  3
            Case 1:22-mj-00180-AJ Document 1-1 Filed 08/10/22 Page 4 of 13




been mailed, or shipped or transported in or affecting interstate or foreign commerce by any

means, including by computer.

       7.       This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711(3) and 18 U.S.C. §§ 2703(a), (b)(1)(A)

& (c)(1)(A). Specifically, the Court is “a district court of the United States…that- has jurisdiction

over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i). Pursuant to 18 U.S.C. §

2703(g), the presence of a law enforcement officer is not required for the service or execution of

this warrant.

                BACKGROUND ON DROPBOX AND NCMEC’S CYBER TIP LINE

       8.       Dropbox Inc., commonly referred to as Dropbox, is a file hosting service

headquartered in San Francisco, California that offers cloud storage, file synchronization,

personal cloud, and client software. Dropbox offers free services to users in which they can store

2GB of information along with various plans which require a user to pay. In order to use

Dropbox services, an individual must register for an account during which time they must

provide their first name, last name, email address, and a password. Once an individual has an

account they can store various forms of media on the account and share links which can contain

the media they store. Users can also download links which contain other user’s media.

       9.       The National Center for Missing & Exploited Children is a private, nonprofit

organization established in 1984 by the United States Congress. NCMEC’s mission is to help

find missing children, reduce child sexual exploitation, and prevent child victimization. In

support of this mission, NCMEC operates the Cyber Tip line. Under United States federal law

(18 U.S. Code § 2258A), U.S.-based electronic service providers (ESPs), such as Dropbox, are




                                                  4
          Case 1:22-mj-00180-AJ Document 1-1 Filed 08/10/22 Page 5 of 13




required to report instances of apparent child pornography that they become aware of on their

systems to NCMEC.

                                         PROBABLE CAUSE

       Background Information:

       10.     On April 5, 2000, Scott Christopher Currier was convicted for aggravated sexual

assault and felonious sexual assault in Strafford County Superior Court. As a result of these

convictions, Currier is required to register as a sex offender in New Hampshire.

       11.     In March 2018, Currier was under court supervision by the United States

Probation Office. During a cursory examination of Currier’s cell phone, the Probation Officer

observed a video file of potential child sexual exploitation in the Dropbox application.

       12.     On September 18, 2018, HSI Special Agents Michael Perrella and Ronald Morin

conducted a voluntary interview with Currier at his parents’ residence in Dover, New

Hampshire. During the interview, Currier discussed his use of a Dropbox account, and he further

advised that his cell phone photos were automatically backed up to the Dropbox account. Currier

informed agents that within chat rooms he was a part of he had observed “younger shit,” which

he furthered described as pubescent and prepubescent pornography depicting both boys and girls.

Currier also informed agents that every time he discovered an image, he deleted it, and believed

he had deleted approximately thirty images. Ultimately, Currier was only charged with a

violation of his federal probation.

       Current Investigation:

       13.     On June 08, 2022, Dunbarton Police Sergeant Brian Tyler was assigned to

investigate Cyber Tip 123083989 reported by Dropbox, Inc. In reporting the Cyber Tip, Dropbox

identified the suspect by email address (singlemaltgrux@gmail.com) and screen/username (Chris



                                                 5
            Case 1:22-mj-00180-AJ Document 1-1 Filed 08/10/22 Page 6 of 13




Currier). Dropbox also provided IP addresses used to log into the account and one file (filename

“2015-12-05 11.44.02.mp4”) from the account which Dropbox advised was publically available

and had been reviewed by the company. File name “2015-12-05 11.44.02.mp4” is a one-minute

and thirty-one second video depicting a pubescent female engaging in masturbation and exposing

her vagina and anus to the camera.

          14.      On June 14, 2022, Sgt. Tyler obtained a state search warrant for the SUBJECT

ACCOUNT. After Sgt. Tyler received the search warrant response from Dropbox for the

SUBJECT ACCOUNT, he provided copies to me. Based upon my review of the Dropbox

response, I observed that the SUBJECT ACCOUNT was organized into twenty-seven different

folders 1, and I determined that over 100 files qualify as child sexual exploitation material. Below

is a description of two of the files that I identified as child sexual exploitation videos during my

review:

                a. Filename “1fab09cc-c891-4f42-ba30-466ffa15f57b.mp4” is a 13-second video

                   depicting an adult male and an infant. The adult male inserted a portion of his

                   penis into the infant’s mouth while rubbing the other portion of his penis with his

                   hand. The infant appears to be crying in this video.

                b. Filename “54df7058-0ae7-423a-81e5-3dd511149130.mp4” is a 59-second video

                   depicting an adult male and a prepubescent female in a bathtub. The adult male is

                   sitting with his legs spread, and the prepubescent female is positioned between his

                   legs. The prepubescent female is using her hands to stimulate his penis.




1
  The names for the folders included: Camera Uploads, Camera Uploads3, camera-uploads2, Elizabeth (leah) giss,
fingering & more, kik vids, kik vids 2, kik2, lez, lot of vids, Mine, mystery, N2, new vids2, Nudes, Num.1, stuffy,
testx1x, untitled folder, Vault, Video2, Videos and stuff, vids (1), white2, x, ybj, Youngz.

                                                          6
         Case 1:22-mj-00180-AJ Document 1-1 Filed 08/10/22 Page 7 of 13




       15.     In June 2022, Sgt. Tyler obtained a state search warrant for the email account

“singlemaltgrux@gmail.com,” which is the email address associated with the SUBJECT

ACCOUNT. From the Gmail search warrant results, Sgt. Tyler identified photographs of Scott

Christopher Currier, including one image of Currier holding his New Hampshire driver’s license

next to his face. In addition, Sgt. Tyler recognized that the Dropbox returns for the SUBJECT

ACCOUNT included photographs of Currier within a folder titled “Camera Uploads.”

       16.     On July 27, 2022, law enforcement executed a federal search warrant for Currier’s

person, his vehicle, and his residence in Dunbarton, New Hampshire. Special Agent Derek Dunn

and I conducted a voluntary interview with Currier after he waived the Miranda Rights. Currier

admitted that the SUBJECT ACCOUNT belonged to him, but he denied storing any child sexual

exploitation materials on the SUBJECT ACCOUNT.

       17.     Following execution of the search warrant, I again reviewed the results for the

SUBJECT ACCOUNT from the state Dropbox search warrant. During this review, I observed

there was no upload log provided with the search warrant results. The upload log would show

when files in the account were added and how they were added.

       18.     On August 02, 2022, I emailed Dropbox’s legal compliance department regarding

the upload logs, and I received the following response:




In response, I advised that I would seek and submit an updated search warrant. Dropbox’s legal

compliance department acknowledged my response and provided instructions for submitting the



                                                7
           Case 1:22-mj-00180-AJ Document 1-1 Filed 08/10/22 Page 8 of 13




updated search warrant via Dropbox’s Law Enforcement and Government Online Submission

System.

                 INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

         19.      In addition to the upload logs for the SUBJECT ACCOUNT, out of an abundance

of caution and in order to have complete results, the requested search warrant seeks to obtain

information that may have been produced by Dropbox in response to the state search warrant.

         20.      The evidence believed to be located within the SUBJECT ACCOUNT is listed in

Attachment B, which is incorporated by reference as if fully set forth herein, and is believed to

be contained on servers and digital storage media maintained by and under the control of

Dropbox Inc.

         21.      This application seeks a warrant to search all responsive records and information

under the control of Dropbox Inc., a provider subject to the jurisdiction of this court, regardless

of where Dropbox has chosen to store such information 2. The government intends to require the

disclosure pursuant to the requested warrant of the contents of wire or electronic

communications and any records or other information pertaining to the customers or subscribers

if such communication, record, or other information is within Dropbox’s possession, custody, or

control, regarding of whether such communication, records, or other information is stored, held,

or maintained outside the United States.

         22.      Pursuant to 18 U.S.C. § 2703(g), this application and affidavit for a search

warrant seeks authorization to require Dropbox Inc., and its agents and employees, to assist

agents in the execution of this warrant. Once issued, the search warrant will be presented to


2
  It is possible that Dropbox, Inc. stores some portion of the information sought outside of the United States. Under
the Clarifying Lawful Overseas Use of Data Act (“CLOUD Act”), the Stored Communications Act was amended to
require that communications providers in the United States respond to legal process and return relevant data
regardless of the location of the servers containing the data.

                                                          8
         Case 1:22-mj-00180-AJ Document 1-1 Filed 08/10/22 Page 9 of 13




Dropbox Inc., with direction that they identify the account described in Attachment A to this

affidavit, as well as other subscriber and log records associated with the account, as set forth in

Section 1 of Attachment B to this affidavit. The search warrant will direct Dropbox Inc., to

create an exact copy of the specified account and records.

       23.     I, and/or other law enforcement personnel will thereafter review the copy of the

electronically stored data and identify from among that content those items that come within the

items identified in Section II to Attachments B for seizure.

       24.     Analyzing the data contained in the forensic copy may require special technical

skills, equipment, and software. It could also be very time-consuming. Searching by keywords,

for example, can yield thousands of “hits,” each of which must then be reviewed in context by

the examiner to determine whether the data is within the scope of the warrant. Merely finding a

relevant “hit” does not end the review process. Keywords used originally need to be modified

continuously, based on interim results. Certain file formats, moreover, do not lend themselves to

keyword searches, as keywords, search text, and many common email, database and spreadsheet

applications do not store data as searchable text. The data may be saved, instead, in proprietary

non-text format. And, as the volume of storage allotted by service providers increases, the time it

takes to properly analyze recovered data increases, as well. Consistent with the foregoing,

searching the recovered data for the information subject to seizure pursuant to this warrant may

require a range of data analysis techniques and may take weeks or even months. All forensic

analysis of the data will employ only those search protocols and methodologies reasonably

designed to identify and seize the items identified in Section II of Attachments B to the warrant.

       25.     Based on my experience and training, and the experience and training of other

agents with whom I have communicated, it is necessary to review and seize a variety of



                                                  9
        Case 1:22-mj-00180-AJ Document 1-1 Filed 08/10/22 Page 10 of 13




messages and documents that identify any users of the SUBJECT ACCOUNT and messages sent

or received in temporal proximity to incriminating messages that provide context to the

incriminating communications.

                                           CONCLUSION

       26.    Based on the foregoing, I request that the court issue the proposed search warrant

authorizing a search of the SUBJECT ACCOUNT specified in Attachment A for the items more

fully described in Attachment B.

       Dated: August 10, 2022                       Respectfully Submitted,


                                                    /s/ Adam Rayho
                                                    Adam Rayho
                                                    Task Force Officer
                                                    Homeland Security Investigations




       The affiant appeared before me by telephonic conference on this date pursuant to Fed. R.
Crim. P. 4.1 and affirmed under oath the content of this affidavit and application.



                                            _________________________________
                                            Honorable Andrea K. Johnstone
                                            United States Magistrate Judge
                                            District of New Hampshire
                                            Date: August 10, 2022




                                               10
         Case 1:22-mj-00180-AJ Document 1-1 Filed 08/10/22 Page 11 of 13




                                           ATTACHMENT A

                                        Property to Be Searched

       This warrant applies to information associated with the Dropbox Account associated with

the email address “singlemaltgrux@gmail.com” (the “SUBJECT ACCOUNT”), that is stored at

premises owned, maintained, controlled, or operated by Dropbox Inc., a company based in San

Francisco, California.

       Notwithstanding Title 18, United States Code, Section 2252A or similar statute or code,

Dropbox Inc., shall disclose responsive data, if any, by delivering encrypted files to the United

States Attorney’s Office, District of New Hampshire, c/o AUSA Kasey Weiland, 53 Pleasant

Street, 4th Floor, Concord, New Hampshire 03301.




                                                11
         Case 1:22-mj-00180-AJ Document 1-1 Filed 08/10/22 Page 12 of 13




                                        ATTACHMENT B

                                  Particular Things to be Seized

   I.        Information to be disclosed by Dropbox Inc. (the “Provider”)

        To the extent that the information described in Attachment A is within the possession,

custody, or control of the Provider, including any messages, records, files, logs, or information

that has been deleted but is still available to the Provider, or has been preserved pursuant to a

request made under 18 U.S.C. § 2703(f), the Provider is required to disclose the following

information to the government for each account or identifier listed in Attachment A:

        a.      The contents of all folders associated with the account, including stored or

preserved copies of files sent to and from the account, the source and destination addresses

associated with each file, and the date and time at which each file was sent;

        b.      All transactional information of all activity of the Dropbox accounts described

above, including log files, messaging logs, records of session times and durations, dates and

times of connecting, methods of connecting, e-mails or “invites” sent or received via Dropbox,

and any contact lists;

        c.      All records or other information regarding the identification of the account, to

include full name, physical address, telephone numbers and other identifiers, records of session

times and durations, the date on which the account was created, the length of service, the types of

service utilized, the IP address used to register the account, log-in IP addresses associated with

session times and dates, account status, alternative e-mail addresses provided during registration,

methods of connecting, log files, and means and source of payment (including any credit or bank

account number);




                                                 12
         Case 1:22-mj-00180-AJ Document 1-1 Filed 08/10/22 Page 13 of 13




       d.        All records or other information stored at any time by an individual using the

account, including address books, contact and buddy lists, calendar data, pictures, and files; and

       e.        All records pertaining to communications between Dropbox and any person

regarding the account or identifier, including contacts with support services and records of

actions taken.

II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence, and

instrumentalities of violations of 18 U.S.C. §§ 2252(a)(2) and 2252(a)(4)(B), including, for each

account or identifier listed on Attachment A, information pertaining to the following matters:

       (a)       Records, data, and images relating to the possession, distribution, or receipt of

materials which constitute child erotica or child pornography (including any files – still images

or video files – depicting child pornography).

       (b)       Records, data, and images relating to the identity of the person(s) who created,

used, or communicated with the Dropbox account, including records that help reveal the

whereabouts of such person(s), such as, but not limited to, first name, last name, middle name, e-

mail address, e-mail password, address, phone number, DOB, driver’s license number, bank

name, bank account number, bank routing number, the IP address used to register the account,

log-in IP addresses associated with session times and dates, account status, alternative e-mail

addresses provided during registration, methods of connecting, log files, and means and source

of payment (including any credit or bank account number).

       (c)       Records and data relating to the identity of the person(s) who communicated with

the Dropbox account regarding the possession, distribution, or receipt of materials that constitute

child erotica or child pornography, including records that help reveal their whereabouts.



                                                  13
